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                            UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


 DISH NETWORK L.L.C.,
 and NAGRASTAR LLC,

        Plaintiffs,                                    Case No. 3:19-cv-01252-M

        v.

 BAILEY STREAMING TV, LLC and
 JON ANTONI BAILEY, individually and
 d/b/a BAILEY STREAMING TV, LLC
 and BAILEY IPTV,

        Defendants.



                         JOINT REPORT RE: SETTLEMENT STATUS

       Pursuant to section 10 of the Court’s Scheduling Order (Dkt. 14), Plaintiffs DISH Network

L.L.C. (“DISH”) and NagraStar LLC (“NagraStar” and, collectively with DISH, “Plaintiffs”) and

Defendants Jon Antoni Bailey and Bailey Streaming TV, LLC (collectively “Defendants” and

together with DISH and NagraStar “the Parties”) respectfully submit this Joint Report and state

the following:

       (1)       Plaintiffs filed this action on May 24, 2019. (Dkt. 1);

       (2)       Defendant Jon Bailey filed an original answer on June 7, 2019 in a pro se capacity.

(Dkt. 7). Defendant thereafter retained the undersigned legal counsel and filed an Amended

Answer on August 5, 2019 on behalf of Bailey (individually) and Bailey Streaming TV, LLC.

(Dkt. 15);

       (3)       The Parties, through their respective undersigned counsel, met and conferred on

pretrial and discovery issues on June 24, 2019 and filed a Joint 26(f) Report with the Court on June

28, 2019. (Dkt. 12);

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       (4)       The Court entered an initial Scheduling Order on July 31, 2019. (Dkt. 14). Section

10 of that Order required, in relevant part:

             Settlement Status Report and Settlement Conference: Counsel, or the
             respective party if not represented by counsel, are directed to confer and file
             with the court by November 1, 2019, a joint report setting forth the status of
             settlement negotiations and the specific efforts made by the parties to resolve
             this case. If no efforts have been made, the parties must state the reasons why
             no settlement efforts have occurred. Counsel shall include in such report a
             statement about their views about ADR (timing and preference for provider,
             if any), and desire for a settlement conference to be conducted by the
             Magistrate Judge.


       (5)       Pursuant to the requirements set forth above and in the Court’s Scheduling Order,

the Parties jointly report the following:

                 (a)     The Parties are currently engaged in discovery and, through that process,

have exchanged information and documents relevant to the claims at issue in the case;

                 (b)     The Parties have engaged in confidential settlement discussions pursuant to

Federal Rule of Evidence 408, and have exchanged written settlement position statements

protected under that same Rule;

                 (c)     The Parties are continuing to exchange information and settlement

proposals and anticipate scheduling an informal settlement meeting concurrent with the date

agreed upon for Plaintiffs to take Defendant Bailey’s deposition. The Parties are still working out

scheduling and dates for that meeting, but anticipate getting something calendared within the next

ninety (90) days;

                 (d)     If the Parties are unable to reach mutually agreeable settlement terms

through their ongoing efforts, including the anticipated in-person settlement meeting to be

coordinated with Defendant Bailey’s deposition, the Parties would be amenable to a formal

settlement conference to be conducted with a Magistrate. With regard to timing, the Parties believe

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that if a formal settlement meeting is required, it should not take place until the close of all

discovery and after Plaintiffs have filed their Motion for Summary Judgment. Pursuant to the

Court’s Scheduling Order (Dkt. 14), the deadline for dispositive motions is set for November 16,

2020. Accordingly, should the Parties be unable to reach informal settlement terms in the interim,

they would participate in a formal settlement conference with a Magistrate after the November 16,

2020 filing deadline.



Dated: October 31, 2019                      Jointly submitted,


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